    Case 21-04058          Doc 50       Filed 03/19/21 Entered 03/19/21 13:16:25                   Desc Main
                                          Document     Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

      In re:                                               §   Chapter 11
                                                           §
      SPHERATURE INVESTMENTS LLC,                          §   Case No.: 20-42492
      et al.                                               §
                                                           §   Jointly Administered

                       Debtors.

                                                           §
      SPHERATURE INVESTMENTS LLC,                          §
      et al. d/b/a WORLDVENTURES                           §
      HOLDINGS, LLC 1                                      §
                     Plaintiffs,                           §
                                                           §        Adversary No. 21-04058
      vs.                                                  §
                                                           §
      KENNETH E. HEAD,                                     §
                                                           §
                        Defendant.

                                           NOTICE OF HEARING

            PLEASE TAKE NOTICE that the Honorable Brenda T. Rhoades, Bankruptcy Judge for

the United States Bankruptcy Court for the Eastern District of Texas (the “Court”), pursuant to

the Agreed Order Granting Agreed Motion to Continue March 19, 2021 Hearing [Docket No. 49],

has set the WorldVentures’ Emergency Application for a Temporary Restraining Order and

Preliminary Injunction and Supporting Memorandum (the “Application”) [Docket No. 2] for

video hearing on March 26, 2021 at 10:00 AM (CT).




1
    The “Plaintiffs” and “Debtors” in the above-captioned cases and adversary proceeding are: Spherature Investments
    LLC (“Spherature”) EIN#5471; Rovia, LLC (“Rovia”) EIN#7705; WorldVentures Marketing Holdings, LLC
    (“WV Marketing Holdings”) EIN#3846; WorldVentures Marketplace, LLC (“WV Marketplace”) EIN#6264;
    WorldVentures Marketing, LLC (“WV Marketing”) EIN#3255; WorldVentures Services, LLC (“WV Services”)
    EIN#2220.

AMENDED NOTICE OF HEARING                                                                             PAGE 1
4815-8869-8848.1
  Case 21-04058           Doc 50      Filed 03/19/21 Entered 03/19/21 13:16:25           Desc Main
                                        Document     Page 2 of 3



         PLEASE TAKE FURTHER NOTICE that upon request and agreement of the parties,

the hearing on the Application will no longer be conducted on March 19, 2021 at 10:00 AM (CT).

         PLEASE TAKE FURTHER NOTICE that the Court has set the Application for video

hearing (video conference) via the Microsoft Teams platform on March 26, 2021 at 10:00 AM

(CT). Parties are instructed to use the following link to join the video hearing: Click here to join

the meeting or at :

https://teams.microsoft.com/dl/launcher/launcher.html?url=%2F_%23%2Fl%2Fmeetup-

join%2F19%3Ameeting_MGY1ZmQ0ODYtMGUzNi00NGY3LTg4NjYtZDQ5OGU1YzN

kNTYw%40thread.v2%2F0%3Fcontext%3D%257b%2522Tid%2522%253a%25221d66f0

37-8266-4d1c-919c-67c6543d3542%2522%252c%2522Oid%2522%253a%25220d18378c-

edd0-4b7e-a0de-9a6882c2f1ab%2522%257d%26anon%3Dtrue&type=meetup-

join&deeplinkId=96ef3338-330c-4488-894a-

1656b6c47f98&directDl=true&msLaunch=true&enableMobilePage=true&suppressPromp

t=true

         PLEASE TAKE FURTHER NOTICE that parties are directed to review the instructions

contained      in   the   following    link   for   all   video   hearings   before   Judge   Rhoades:

http://www.txeb.uscourts.gov/content/judgerhoades. The information can be found by accessing

the Court’s webpage at www.txeb.uscourts.gov and choosing “Judge’s Info”, then choosing

“Judge Rhoades”, and then choosing “Video Hearing” Tab. Should any party encounter any issues

or have questions, please contact the Court’s IT Technician, Wes Dabney, at (903) 590-3225.

         PLEASE TAKE FURTHER NOTICE that the all of the pleadings filed in these Cases

and supporting papers are available on the Court’s website at https://ecf.txeb.uscourts.gov/.




AMENDED NOTICE OF HEARING                                                                      PAGE 2
4815-8869-8848.1
  Case 21-04058       Doc 50     Filed 03/19/21 Entered 03/19/21 13:16:25             Desc Main
                                   Document     Page 3 of 3




DATED: March 19, 2021                         Respectfully submitted by:


                                              /s/ Steven C. Lockhart _________
                                              Marcus A. Helt (TX 24052187)
                                              Robert Slovak (24013523)
                                              Steven C. Lockhart (24036981)
                                              Aaron E. Chibli (24091222)
                                              Emily F. Shanks (24110350)
                                              FOLEY & LARDNER LLP
                                              2021 McKinney Avenue, Suite 1600
                                              Dallas, TX 75201
                                              Telephone: (214) 999-3000
                                              Facsimile: (214) 999-4667
                                              rslovak@foley.com
                                              slockhart@foley.com
                                              achibli@foley.com
                                              eshanks@foley.com

                                              COUNSEL FOR THE PLAINTIFFS
                                              SPHERATURE INVESTMENTS LLC, et al
                                              d/b/a WORLDVENTURES HOLDINGS, LLC

                                 CERTIFICATE OF SERVICE

       I hereby certify that, on March 19, 2021, a true and correct copy of the foregoing document
was served electronically on all parties in interest by the Court’s ECF system, as well as on counsel
for Mr. Head via email.
       I also certify that on March 18, 2021, a true and correct copy of Order Granting Agreed
Motion to Continue March 19, 2021 Hearing [Docket No. 25] was served via the Court’s ECF
system and on counsel for Mr. Head via email.


                                                      /s/ Emily F. Shanks
                                                      Emily F. Shanks




AMENDED NOTICE OF HEARING                                                                    PAGE 3
4815-8869-8848.1
